     Case 2:20-mj-01777-DUTY Document 24-1 Filed 06/10/20 Page 1 of 4 Page ID #:139




                                            Mandatory Residential Disclosure Report




                                                                                       SUBJECT PROPERTY:
                                                                                       3275 W LAKE BLVD
                                                                                       HOMEWOOD, CA 96141
                                                                                       APN: 085-260-034-000
                                                                                       PLACER COUNTY




                                                   PROPERTY I.D. PLAZA, 1001 WILSHIRE BL., LOS ANGELES, CA 90017
                          P: (800) 626-0106 F: (800) 626-3863 • Platinum Services P: (800) 920-5603 F: (800) 920-5605
                                                                                                   WWW.PROPERTYID.COM
IMPORTANT NOTICE For the convenience                   of real estate agents, escrow officers, sellers and buyers, a disclosure receipt is provided herein. It is important that the recipient of the report acknowledge
acceptance of the report by signing the receipt. Thereafter each party to the transaction may retain a copy of the receipt for their records.
When Printed by Property I.D. Corporation, three original copies of the report are issued for distribution to the parties involved in the transaction.
COPYRIGHT © 2020 PROPERTY I.D., All rights reserved. No part of this publication may be reproduced, stored in a retrieval system, or transmitted by any means (electronic, mechanical, photocopying or otherwise) without the prior permission of Property I.D.
COPYRIGHT is not claimed as to any part of original paperwork by the federal or state government.
        Case 2:20-mj-01777-DUTY Document 24-1 Filed 06/10/20 Page 2 of 4 Page ID #:140
NATURAL HAZARD DISCLOSURE STATEMENT AND DISCLOSURE REPORT RECEIPT

This statement applies to the following property: 3275 W LAKE BLVD HOMEWOOD, CA 96141;                 PLACER COUNTY; APN: 085-260-034-000                 Date: 06/10/2020
The seller and the seller's agent(s) or a third-party consultant disclose the following information with the knowledge that even though this is not a warranty, prospective buyers
may rely on this information in deciding whether and on what terms to purchase the Subject Property. Seller hereby authorizes any agent(s) representing any principal(s) in
this action to provide a copy of this statement to any person or entity in connection with any actual or anticipated sale of the property. The following are representations made
by the seller and the seller's agent(s) based on their knowledge and maps drawn by the state and federal governments. This information is a disclosure and is not intended to
be part of any contract between the seller and buyer. THIS REAL PROPERTY LIES WITHIN THE FOLLOWING HAZARDOUS AREA(S):
A SPECIAL FLOOD HAZARD AREA (Any type Zone "A" or "V") designated by the Federal Emergency Management Agency. Refer to Report.
     Yes _X_   No __     Do not know and information not available from local jurisdiction ___
AN AREA OF POTENTIAL FLOODING SHOWN ON A DAM FAILURE INUNDATION MAP pursuant to Section 8589.5 of the Government Code. Refer to Report.
     Yes ___   No _X__   Do not know and information not available from local jurisdiction ___
A VERY HIGH FIRE HAZARD SEVERITY ZONE pursuant to Section 51178 or 51179 of the Government Code. The owner of this property is subject to the maintenance requirements of Section 51182
of the Government Code. Refer to Report.
       Yes _X__     No ___
A WILDLAND AREA THAT MAY CONTAIN SUBSTANTIAL FOREST FIRE RISKS AND HAZARDS pursuant to Section 4125 of the Public Resources Code. The owner of this property is subject to the
maintenance requirements of Section 4291 of the Public Resources Code. Additionally, it is not the state's responsibility to provide fire protection services to any building or structure located within the
wildlands unless the Department of Forestry and Fire Protection has entered into a cooperative agreement with a local agency for those purposes pursuant to Section 4142 of the Public Resources Code.
Refer to Report.
       Yes _X__       No ___
AN EARTHQUAKE FAULT ZONE pursuant to Section 2622 of the Public Resources Code. Refer to Report.
     Yes ___  No _X__
A SEISMIC HAZARD ZONE pursuant to Section 2696 of the Public Resources Code. Refer to Report.
      Yes (Landslide Zone) ___ Yes (Liquefaction Zone) ___ No ___ Map not yet released by state _X__

THESE HAZARDS MAY LIMIT YOUR ABILITY TO DEVELOP THE REAL PROPERTY, TO OBTAIN INSURANCE, OR TO RECEIVE ASSISTANCE AFTER A DISASTER.
THE MAPS ON WHICH THESE DISCLOSURES ARE BASED ESTIMATE WHERE NATURAL HAZARDS EXIST. THEY ARE NOT DEFINITIVE INDICATORS OF
WHETHER OR NOT A PROPERTY WILL BE AFFECTED BY A NATURAL DISASTER. SELLER(S) AND BUYER(S) MAY WISH TO OBTAIN PROFESSIONAL ADVICE
REGARDING THOSE HAZARDS AND OTHER HAZARDS THAT MAY AFFECT THE PROPERTY.
Signature of Seller(s)      _______________________________________________________________                                          Date________________________

Signature of Seller(s)      _______________________________________________________________                                          Date________________________

Seller's Agent(s)           _______________________________________________________________                                          Date________________________

Seller's Agent(s)           _______________________________________________________________                                          Date________________________
Check only one of the following:
     Seller(s) and their agent(s) represent that the information herein is true and correct to the best of their knowledge as of the date signed by the transferor(s) and agent(s).
      Seller(s) and their agent(s) acknowledge that they have exercised good faith in the selection of a third-party report provider as required in Section 1103.7 of the Civil Code, and that the
representations made in this Natural Hazard Disclosure Statement are based upon information provided by the independent third-party disclosure provider as a substituted disclosure pursuant to Section
1103.4 of the Civil Code. Neither seller(s) nor their agent(s) (1) has independently verified the information contained in this statement and report or (2) is personally aware of any errors or inaccuracies in
the information contained on the statement. This statement was prepared by the provider below:
Third-Party Disclosure Provider(s)                   Property I.D._______________ Date ___________06/10/2020___________

Buyer represents that he or she has read and understands this document. Pursuant to Civil Code Section 1103.8, the representations made in this Natural Hazard Disclosure
Statement do not constitute all of the seller's or agent's disclosure obligations in this transaction.
The items listed below indicate additional statutory disclosures and legal information that are provided in the report.
¨      Additional Reports that are enclosed herein if ordered:
              (A) ENVIRONMENTAL RISK REPORT (Enclosed if ordered)
¨     Additional Statutory Disclosures:
             (A) INDUSTRIAL USE ZONE DETERMINATION (where available) pursuant to Section 1102.17 of the California Civil Code. Refer to Report. (B) MILITARY ORDNANCE FACILITIES
      pursuant to California Civil Code Sections 1102.15 and 1940.7. Refer to Report. (C) AIRPORT INFLUENCE AREA pursuant to Civil Code Section 1103.4. Refer to Report. (D) NOTICE OF RIGHT
      TO FARM pursuant to California Civil Code Section 1103.4. Refer to Report. (E) MELLO-ROOS & SPECIAL ASSESSMENTS pursuant to Section 53311-53365.7 / 53754 of the California
      Government Code; Refer to Report.
¨      Additional Local Jurisdiction Hazards - May include the following:
              Airports, Avalanche, Coastal Protection, Conservation Areas, Critical Habitats, Dam Failure Inundation, Duct Sealing Requirements, Erosion, Fault Zone, Fire, Groundwater, Landslide,
       Liquefaction, Methane Gas, Mines, Naturally Occurring Asbestos, Oil and Gas Well Proximity, Petrochemical Contamination, Property Taxes, Radon, Right to Farm, Soil Stability, Tsunami,
       Williamson Act, Wind Erosion. Refer to Report.
¨     General Notices and Additional Forms:
             Methamphetamine Contamination, Megan’s Law – Sex Offender Database, Abandoned Wells. Carbon Monoxide Devices, Natural Gas and Hazardous Liquid Pipelines, Water Conserving
      Plumbing Fixtures, Notice of Supplemental Property Tax Bill, AB 38 Notice, Wood Stove Statement of Compliance Disclosure Form, California Waterway Setback Requirements, Tahoe Regional
      Planning Agnecy BMP, Tahoe Regional Planning Agnecy Wood Heater Retrofit Program, SGMA Groundwater Basin Priority, Historical Significance Notice. Refer to Report.
¨      Governmental Guides are delivered with printed reports and linked on electronically delivered reports (also available at https://propertyid.com/downloads)
             (A) ENVIRONMENTAL HAZARDS: "A Guide for Homeowners, Buyers, Landlords and Tenants" pursuant to California Health and Safety Code Section 25100 et seq., 25417, and 26100,
       Business and Professions Code Section 10084, and Civil Code Section 2079.7. Refer to Report. ; (B) EARTHQUAKE SAFETY: "The Homeowner's Guide To Earthquake Safety", including the
       "Residential Earthquake Risk Disclosure Statement", pursuant to California Business and Professions Code Section 10149, and Government Code Sections 8897.1, 8897.2, and 8897.5. Refer to
       Report. ; (C) LEAD-BASED PAINT: "Protect Your Family From Lead In Your Home" pursuant to HUD Mortgage Letter 92-94, Title X of Housing and Com. D.V. Act of 1992. Refer to Report. ; (D).
       MOLD: "Mold or Moisture in My Home: What Do I Do?", pursuant to Health and Safety Code Section 25100 et seq., 25417, and 26100, Business and Professions Code Section 10084, and Civil
       Code Section 2079.7. Refer to Report. ; (E). "What Is Your Home Energy Rating?", pursuant to California Civil Code Section 2079.10. Refer to Report.
This Report contains the Mandatory Natural Hazard Disclosure Report. The Environmental Risk Report is only enclosed if it has been ordered. To order the Environmental Risk Report, please contact
Property I.D. Customer Service at 800-626-0106.


Signature of Buyer(s) ____________________________________________                                                           Date___________________

Signature of Buyer(s) ____________________________________________                                                           Date___________________




COPYRIGHT © 2020 PROPERTY I.D., All rights reserved.
     Case 2:20-mj-01777-DUTY Document 24-1 Filed 06/10/20 Page 3 of 4 Page ID #:141

                                                                                FIRE HAZARDS
                                                           For
                                      3275 W LAKE BLVD, HOMEWOOD, CA 96141
                                                 APN: 085-260-034-000
                                 _______________________________________________________

                                                                VERY HIGH FIRE HAZARD ZONE
 Based on PROPERTY I.D.'s research of the current maps and information issued by the California Department of
 Forestry and Fire Protection and Placer County, the following determination is made:

                                       A VERY HIGH FIRE HAZARD SEVERITY ZONE pursuant to Section 51178 or 51179 of the Government Code.
                                       The owner of this property is subject to the maintenance requirements of Section 51182 of the Government Code.
                                                                                     Yes _X__       No ___



            SUBJECT PROPERTY IS LOCATED IN A VERY HIGH FIRE HAZARD SEVERITY ZONE
 DISCUSSION:
 In an effort to prepare measures to retard the spread of fires, and reduce the potential intensity of uncontrolled
 fires that could destroy resources, life, or property, the California Department of Forestry and Fire Protection
 identifies Very High Fire Hazard Severity Zones. These areas are classified as such based upon fuel loading,
 slope, fire history, weather, and other relevant factors. For an area designated as a very high fire hazard severity
 zone, vegetation removal or management must be undertaken for fire prevention or suppression purposes. Other
 measures may be required, such as the maintenance of fire breaks around the property, clearance of brush and
 other flammable substances, the provision and maintenance of screens on chimneys and stovepipes, and a
 prescribed fire retardant roof.
 Note: California Government Code §51179 provides that a local agency may choose to include or exclude areas from the State identified
 VHFHSZs in order to provide effective fire protection and fire prevention in the local jurisdiction. This provision allows a local agency, at its
 discretion, to make changes to the boundaries of VHFHSZs that may not be reflected on maps released by the CDF. For these reasons, the
 NHDS may be marked “Yes” for very high fire.

                                          WILDLAND FIRE (STATE FIRE RESPONSIBILITY AREA)
 Based on PROPERTY I.D.'s research of the current maps issued by the California Department of Forestry and Fire
 Protection, the following determination is made:
  A WILDLAND AREA THAT MAY CONTAIN SUBSTANTIAL FOREST FIRE RISKS AND HAZARDS pursuant to Section 4125 of the Public Resources Code. The owner of this property
   is subject to the maintenance requirements of Section 4291 of the Public Resources Code. Additionally, it is not the state's responsibility to provide fire protection services to any building
  or structure located within the wildlands unless the Department of Forestry and Fire Protection has entered into a cooperative agreement with a local agency for those purposes pursuant
                                                                        to Section 4142 of the Public Resources Code.
                                                                                    Yes _X__        No ___



            SUBJECT PROPERTY IS LOCATED IN A DESIGNATED STATE FIRE RESPONSIBILITY
            AREA
 DISCUSSION:
 A State Fire Responsibility Area (SRA) is the area where the State of California is financially responsible for the
 prevention and suppression of wildfires. The SRA does not include lands within incorporated city boundaries or
 federally owned land.
 Pursuant to Assembly Bill X1 29 (ABX1 29), an annual SRA Fire Prevention Benefit Fee is applied to all habitable
 structures within the SRA. Effective July 1, 2013, the fee was levied at the rate of $152.33 per habitable structure,
 to be adjusted annually for inflation. This fee funds fire prevention services in the SRA, such as fuel reduction,
 defensible space inspections, fire prevention engineering, evacuation planning, fire prevention education, fire
 hazard mapping, implementation of Fire Plans, and fire-related law enforcement activities. Owners of habitable
 structures that are also within the boundaries of a local fire protection agency may receive a reduction of $35 per
 habitable structure.



COPYRIGHT © 2020 PROPERTY I.D., All rights reserved.                                        Page 8
     Case 2:20-mj-01777-DUTY Document 24-1 Filed 06/10/20 Page 4 of 4 Page ID #:142

                                                                        FIRE HAZARDS
                                                                              (continued)

  With the passing of Assembly Bill 398 (AB 398), the Fire Prevention Fee has been suspended for the 2017-2018
  fiscal year, and will remain suspended through January 1, 2031. For the exact text of AB 398, please visit
  https://leginfo.legislature.ca.gov/faces/billNavClient.xhtml?bill_id=201720180AB398.



  If you have questions regarding the Fire Prevention Fee program, or would like to appeal your SRA
  determination, please contact the Fire Prevention Fee Service Center at the following address or telephone
  number:
                                      Fire Prevention Fee Service Center
                                      P.O. Box 2254
                                      Suisun City, CA 94585
                                      1-888-310-6447
  Note: If the property is located in a State Fire Responsibility area, Seller shall, within the time specified, disclose this fact in writing to Buyer (Public Resources
  Code Section 4136). Government regulations may impose building restrictions and requirements that may substantially impact and limit construction and any
  remodeling or improvement.

                                                           WILDLAND-URBAN INTERFACE

  Based on PROPERTY I.D.'s research of the current maps and information issued by the United States Forest
  Service, the following determination is made:

             SUBJECT PROPERTY IS LOCATED IN THE WILDLAND-URBAN INTERFACE

  Based on PROPERTY I.D.'s research of the current maps and information issued by the California Department of
  Forestry and Fire Protection's Fire Resource and Assessment Program (FRAP), the following determination is
  made:

             SUBJECT PROPERTY IS LOCATED IN OR ADJACENT TO THE WILDLAND-URBAN
             INTERFACE (INFLUENCE ZONE, INTERFACE, INTERMIX)
  DISCUSSION:
  The wildland-urban interface (WUI) is the area where structures and other human development meet or
  intermingle with undeveloped wildland, and is an environment in which fire can move readily between
  vegetation fuels and structures, increasing the threat to property and human life. As more and more Californians
  make their homes in woodland settings, they face the very real and growing danger of wildfire. Every year across
  California, homes are affected by wildfires. Those that survive the fire almost always do so because their owners
  had prepared for the eventuality of fire, which is an inescapable force of nature in fire-prone wildland areas.
  Living in a Wildland-Urban interface zone comes with some added need for understanding of fire dangers, and
  preparedness methods to protect your home and family.

  Wildland Urban Intermix: Areas where structures and wildland vegetation directly intermingle
  Wildland Urban Interface: Areas with sparse or no wildland vegetation in close proximity to dense wildland
  vegetation
  Wildfire Influence Zone: Wildland vegetation up to 1.5 miles from Interface or Intermix




COPYRIGHT © 2020 PROPERTY I.D., All rights reserved.                             Page 9
